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IN THE UNITED sTATEs DIsTRICr coURT
FOR THE WESTERN DISTRICF 0F TENNESSEE A'r MEMPBHs]UL 11, PH i,= |g
WESTERN DIVIsIoN
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BRENDA MEDRANO, Admim'stmrix Of “W ‘*"" "'“el"lprlb

the Estate of Rogelio Galvan a/k/a Ag'ustin
Femando Martinez, Deceasecl, and as
Parent and Next Friencl of Flor Carolina
Martinez Medrano, a Minor, and ]OSE
RUBEN LARA BUENDIA,

Plaintiffs,
VS. NO. O4-CV-2425 BP

MCRI, INC., and M.A. MORTENSON
COl\/[PANY,

Defendants.

 

ORDER ON MOTION FOR ADMISSION PRO HAC VICE
AND FOR SPECIAL APPEARANCE OF ]ASON A. GREVES, ESQ.

 

THIS CAUSE CAME ON TO BE HEARD pursuant to the Defendant’s motion requesting
leave for admission B h_ac_: m and for special appearance of ]ason A. Greves, Attomey at Law, as eo-
counsel for the Defendant, M.A, Mortenson Company, in this cause. The Court finds that ]ason A
Greves, Attorney at Law, states that he is willing to submit to all disciplinary procedures applicable to
Tennessee lawyers, and that he is in good standing and eligible to practice in the highest court of his
resident State of l\/linnesota.

ITIS, TI'IEREFORE, ORDERED, ADJUDGED AND DECR_EED that the motion Of Mark
A. Lambert, Attorney at Law, for admission B ha_c g and for special appearance in this Court as co-

counsellor the Defendant, M. A. Mortenson, in the above-styled cause is hereby granted.

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APPROVED FOR ENTRY:
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YARK A“. ERT (# 022509)
unsel for efendants

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Memphis, Tennessee 38103
(901) 763-4200

 

25382

 

July 15, 2005 to the parties listed

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Honorable J. Breen
US DISTRICT COURT

